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        Strzok v. Barr, No. 1:19-CV-2367-ABJ




                      Exhibit R
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From: Bessee, Cecilia O. (OGC) (FBI) [[REDACTED]@fbi.gov]
Sent: Monday, August 20, 2018 8:59 PM
To: Goelman, Aitan
Cc: [REDACTED]
Subject: FW: Special Agent Peter Strzok

Aitan,
Your email to Deputy Director Bowdich regarding Special Agent Peter Strzok, has been
forwarded to the FBI’s Office of the General Counsel for appropriate response. We are in the
process of reviewing your email and looking into your request. We will respond to your
request in due course. Thank you for your patience.
Cecilia

Cecilia O. Bessee
Acting Deputy General Counsel
Litigation Branch
Office of the General Counsel
Federal Bureau of Investigation
935 Pennsylvania Ave, NW, Room 10140
Washington, DC 20535
Telephone: [REDACTED]
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Facsilile: [REDACTED]

Confidentiality Statement :
This message is transmitted to you by the Office of the General Counsel of the Federal Bureau of Investigation. The
message, along with any attachments, may be confidential and legally privileged. If you are not the intended recipient
of this message, please destroy it promptly without further retention or dissemination (unless otherwise required by
law). Please notify the sender of the error by a separate e-mail or by calling [REDACTED].



-------- Original message --------
From: "Goelman, Aitan" <AGoelman@zuckerman.com>
Date: 8/11/18 9:37 PM (GMT-05:00)
To: "Bowdich, David L. (DO) (FBI)" <[REDACTED] >
Subject: Special Agent Peter Strzok



Deputy Director Bowdich:

I represent Peter Strzok and am in possession of your letter dated August 9, 2018, terminating Special Agent Strzok and
thereby overturning the decision of the FBI's Office of Professional Responsibility ("OPR") that Special Agent Strzok's
profound remorse, record of exemplary service and unlikelihood of recidivism justify the less severe punishment of a 60-
day suspension and demotion rather than termination. Your letter states that your decision to terminate "is final, and
not subject to further administrative review." This is inconsistent with both past practice and the language of previous
communications from OPR. Both the OPR letter of August 8, 2018, and the OPR letter of June 15, 2018, announcing the
disciplinary recommendation, stated that Special Agent Strzok would be entitled to appeal any adverse decision more
severe than a 14-day suspension to a 5-member, cross-divisional Disciplinary Review Board. Given that the availability of
such an appeal is consistent with past practice, and Director Wray's repeated statements that he intended to
scrupulously follow the FBI's ordinary practice in this matter, we respectfully request the opportunity to appeal your
decision administratively and, if you decline, an explanation as to why the Bureau decided to abandon both past practice
and its own written commitments in this case.

Very truly yours,

Aitan Goelman




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